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1    LAW OFFICES OF SCOTT L. TEDMON
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2
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5

6    Attorney for Defendant
     ELISABET PEREZ
7

8
                                   UNITED STATES DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                  )
11   UNITED STATES OF AMERICA,                    )   Case No. 2:14-CR-00326-GEB
                                                  )
12                                                )   STIPULATION REGARDING
                            Plaintiff,            )   EXCLUDABLE TIME PERIODS
13                                                )   UNDER THE SPEEDY TRIAL ACT;
             vs.                                  )
14                                                )   [PROPOSED] FINDINGS AND ORDER
     ELISABET PEREZ,                              )
15                                                )   DATE: April 8, 2016
                            Defendant.            )   TIME: 9:00 a.m.
16                                                )   JUDGE: Garland E. Burrell, Jr.
                                                  )
17

18           Plaintiff United States of America, by and through Special Assistant United

19   States Attorney Josh F. Sigal, and defendant Elisabet Perez, by and through counsel
20
     Scott L. Tedmon, hereby agree and stipulate as follows:
21
         1. By previous order, this matter was set for status conference on April 8, 2016
22
             at 9:00 a.m.
23

24       2. By this stipulation, the parties now move to continue the status conference to

25           Friday, April 22, 2016 at 9:00 a.m., and to exclude time between April 8,
26
             2016 and April 22, 2016 under Local Code T4.
27
         3. The parties agree and stipulate, and request the Court find the following:
28
             a) On March 11, 2016, the Court ordered that Scott L. Tedmon be substituted


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1                 in as counsel of record for defendant Elisabet Perez, replacing former
2
                  counsel of record Jennifer C. Noble.
3
             b) The parties have now agreed to the terms of a plea agreement, which is in
4
                  writing. Mr. Tedmon was scheduled to meet with defendant Elisabet
5

6                 Perez on Monday, April 4, 2016 at 9:00 a.m. to review and sign the plea

7                 agreement.
8
             c) On April 2, 2016, Ms. Perez gave birth to a daughter, which was 4 weeks
9
                  prior to her actual due date of April 30, 2016. Given the need for Ms.
10
                  Perez to recover from the delivery of her daughter, and meet with Mr.
11

12                Tedmon to review and sign the plea agreement, it is necessary to continue

13                the status conference to April 22, 2016. It is anticipated the plea
14
                  agreement will be signed by all parties and the April 22, 2016 court
15
                  appearance will be for change of plea.
16
             d) Mr. Tedmon believes the failure to grant the above-requested continuance
17

18                would deny him reasonable time necessary for effective preparation,

19                taking into account the exercise of due diligence.
20
             e) Based on the foregoing, the ends of justice served by continuing the case
21
                  regarding defendant Elisabet Perez as requested outweigh the best
22
                  interest of the public and defendant Elisabet Perez in a speedy trial within
23

24                the original date prescribed by the Speedy Trial Act.

25           f) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
26
                  3161, et seq., within which trial must commence, the time period of April
27
                  8, 2016 to April 22, 2016, inclusive, is deemed excludable pursuant to 18
28
                  U.S.C. § 3161(h)(7)(A), (B)(iv) [Local Code T4] because it results from a


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1                 continuance granted by the Court at defendant Elisabet Perez’s request on
2
                  the basis of the Court’s finding that the ends of justice served by taking
3
                  such action outweigh the best interest of the public and defendant
4
                  Elisabet Perez in a speedy trial.
5

6        4. Nothing in this stipulation and order shall preclude a finding that other

7            provisions of the Speedy Trial Act dictate that additional time periods are
8
             excludable from the period within which a trial must commence.
9
             IT IS SO STIPULATED.
10
     DATED: April 4, 2016                         BENJAMIN B. WAGNER
11
                                                  United States Attorney
12
                                                  /s/ Josh F. Sigal
13                                                JOSH F. SIGAL
                                                  Special Assistant U.S. Attorney
14

15   DATED: April 4, 2016                         LAW OFFICES OF SCOTT L. TEDMON

16                                                /s/ Scott L. Tedmon
                                                  SCOTT L. TEDMON
17
                                                  Attorney for Defendant Elisabet Perez
18

19
                                         FINDINGS AND ORDER
20

21
             IT IS SO FOUND AND ORDERED.
22
     Dated: April 5, 2016
23

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25

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27

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